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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                NO.: 19-CR-101 (SRN/ECW)

                            Plaintiff,
                                                  POSITION OF DEFENDANT
v.                                                AARON BROUSSARD WITH
                                                  RESPECT TO SENTENCING

AARON RHY BROUSSARD,

                            Defendant.


       Defendant, Aaron Rhy Broussard, by and through his attorney, submits this

position pleading in support of a fair sentence. Mr. Broussard adopts the Presentence

Report (PSR) with the exception of his one noted objection. He submits that the 3553(a)

factors support a sentence of 240 months.

       In April of 2016, Mr. Broussard did not know he was mailing Fentanyl to the

victims in this case. There is no disagreement about this fact. And it is an important fact

in determining the appropriate sentence in this case.        It is a fact that mitigates his

culpability.

       There is also another undeniable fact in this case, the victims and the families

deserve unboundless sympathy. But, as this Court is very well aware, sentencing is about

more than just the victims. Sentencing is about fairness to all of the parties, to the public,

and most importantly to Mr. Broussard.

       My guess is that Mr. Broussard has not been the easiest defendant that has

appeared before this Court. His decision to proceed through the majority of the case pro


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se, his filings before this Court, his filings in the Court of Appeals, his civil complaints,

ethics complaints have all undoubtedly caused frustration. The obvious response to his

pro se representation is that he is incapable of remorse or recognition of what happened

to the victims. However, there is a different perspective. A perspective that takes into

account the reality of this case.

       His aunt and his sister have written to the Court of the kind, shy, awkward, young

man that they know. They have expressed their struggle to reconcile that young man

with what has happened in this case. A young man who grew up with one parent

struggling with addiction and another distant. Moving between different family members

Mr. Broussard struggled to fit in. He is a young man who was, and remains, in crisis. In

trying to find purpose in his life he turned to the internet. Found a community. Then, he

found himself responsible for unspeakable tragedy.

       In this context, there is a different explanation for his behavior. Having never

intended to sell a product capable of inflicting near instantaneous death, Mr. Broussard

found himself confronting the unthinkable. No one is prepared to cope with the tragedy

of this case. Any person in Mr. Broussard's position would find themselves in an internal

conflict that would paralyze. Mr. Broussard's reaction to these charges, I believe, is his

coping mechanism. The impossibility of wrapping his mind around the extent of harm he

has caused has forced him to seek explanations that shift the fault away.            He has

medicated his anxiety and turmoil in the esoteric corners of the law. It is his armor. And

for the last six years he has done nothing but add to his personal mental defense by




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reading law books and writing. His outward reaction to this case, however, does not take

away the truth that within Mr. Broussard is the kind young man his family knows.

      He deserves a chance at rehabilitation. A chance to find his way to atonement.



I.    Mr. Broussard's Custody Credit Should be Calculated Starting December 6,
      2016.
      Mr. Broussard was arrested on December 6, 2016, on an indictment from the

Middle District of Pennsylvania. (PSR at F.2). He was indicted in this case on April 10,

2019. (Doc. #1). On December 16, 2020, the Middle District of Pennsylvania indictment

was dismissed. (PSR at ¶5). The charges in the Middle District of Pennsylvania are

captured in this case.   (PSR at ¶5).    Mr. Broussard has remained in custody since

December 6, 2016. He asks this Court to credit him for all the time he has been in

custody.



II.   The 18 U.S.C. § 3553(A) Factors In This Case Warrant A Mandatory
      Minimum Sentence.

      In accordance with 18 U.S.C. § 3553 (B), U.S.S.G. § 5K2.0, Gall v. United States,

552 U.S. 38 (2007), and the factors set forth in 18 U.S.C. § 3553(a), Counsel for Mr.

Broussard requests a sentence of 240 months.

      With the rise of cheap Fentanyl, mostly imported from China, prosecutions for

distribution resulting in death have also unfortunately risen. In the Eastern District of

Virginia, in May of this year, a recent conviction for distributing Fentanyl resulting in a

death resulted in a 22 year sentence (United States v. Velasquez, 21-CR-287 (EDVA)



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Doc. #41). In March of this year, in the Southern District of California a sentence of 15

years was handed down in a Fentanyl death case (United States v. Mefford, 20-CR-253

(SDCA) Doc. #57), 20 years in another (United States v. Davis, 20-CR-2500 (SDCA)

Doc. #87), and 25 years in yet another (United States v. Springfield, 20-CR-2923

(SDCA) Doc. #87). In the District of Colorado a 14 year sentence was given in a case

involving multiple deaths stemming from the distribution of Fentanyl (United States v.

Huggett, 18-CR-334, (DCO) Doc. #88). And, in the District of Massachusetts a 12 year

sentence was given in a case involving a death (United States v. Reynoso, 17-CR-10350

(DMA) Doc. #74). The mandatory minimum sentence of 240 months in this case avoids

sentencing disparity.

                                      *      *      *

       Aaron Broussard never intended to distribute Fentanyl.          He certainly never

intended for anyone to die or be injured. In April of 2016, a horrible tragedy occurred. A

sentence of 240 months accounts for Mr. Broussard's culpability, his life history, and is

consistent with the sentencing occurring in similar cases across the country.

                                                        Respectfully submitted,

                                                        WOLD MORRISON LAW

Dated: July 26, 2022.                                   s/ Aaron J. Morrison
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